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                        IN THE UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT

        MARYLAND SHALL ISSUE, INC., et al., *
                                            *
           Plaintiffs-Appellants,           *
                                            *                No. 23-1719
           v.                               *
                                            *
        MONTGOMERY COUNTY,                  *
        MARYLAND,                           *
                                            *
           Defendant-Appellee               *

         DEFENDANT’S MOTION TO STRIKE PLAINTIFFS’ SUPPLEMENTAL
             FACTUAL ALLEGATIONS AND EXHIBITS CONTAINED IN
                  PLAINTIFFS’ EMERGENCY MOTION FOR A
                   RULE 8 INJUNCTION PENDING APPEAL

              Defendant Montgomery County, Maryland, (“the County”) by and through its

        undersigned counsel, files its Motion to Strike the supplemental and improper factual

        allegations and exhibits contained in Plaintiff’s Emergency Motion for a Rule 8

        Injunction Pending Appeal (the “Emergency Motion”). Plaintiffs’ counsel was

        informed of the County’s intention to file this Motion on July 21, 2023; Plaintiffs do

        not consent and intend to oppose this Motion. FRAP Local Rule 27(a).

              On July 6, 2023, the District Court denied Plaintiffs’ Emergency Motion for

        a Temporary Restraining Order and Preliminary Injunction (the “Denied Motion”).

        (ECF 82). The Denied Motion sought to prevent and enjoin the County from

        enforcing Section 57-11(a) of Chapter 57 of the Montgomery County Code (the
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        “County Firearms Law”) against persons who have been issued a wear and carry

        permit by the Maryland State Police. (ECF 82).1

              On July 7, 2023, Plaintiffs filed a notice of appeal from the district court’s

        July 6, 2023, Order. Plaintiffs’ Emergency Motion seeks the extraordinary relief of

        injunction pending appeal with respect to permit holders as to: (1) the County

        restrictions of possession and transport of firearms in the County’s 100-yard buffer

        zone under 57-11(a); (2) County restrictions on keeping guns on persons or in

        vehicles under Section 57-10; and (3) County restrictions on firearms on places of

        worship under Chapter 57. (Doc. 10-1 at 8); Winter v. Nat. Res. Def. Council, Inc.,

        555   U.S.   7,   22   (2008)    (preliminary   injunction   is    “an   extraordinary

        remedy”). Concurrently with this Motion to Strike, the County filed its Response to

        the Emergency Motion.

              The Emergency Motion improperly attempts to introduce new and lengthy

        factual allegations and evidence not offered in the district court, including new maps

        (Doc. 10-1 at 11; Doc. 10-15, exhibit), a 32 page expert report of Daniel Carlin-

        Weber, which Plaintiffs are attempting to submit for the first time as a

        “Declaration” (Doc. 10-7) and the Second Supplemental Declaration of Allan Barall

        (Doc. 10-15). Notably, each of these supplemental factual allegations and exhibits


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         The County will refer to docket entries in the U.S. District Court (Case No. 8:21-
        CV-01736-TDC) as “ECF,” and will use “Doc.” to reference docket entries in the
        instant interlocutory appeal before this Court, No. 23-1719.
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        were previously available evidence and should be stricken as “an improper attempt

        to ‘backfill’ the appellate record.” See Dmarcian, Inc. v. Dmarcian Eur. BV, 2021

        U.S. Dist. LEXIS 150517, *7. None of Plaintiffs’ “new” factual allegations contain

        any “new” information that was not available at the time they filed the Denied

        Motion. This court should not consider Plaintiffs’ supplemental evidence that they

        "simply overlooked or forgot the first time around." Newspaper, Newsprint, Mag. &

        Film Delivery Drivers, Helpers, & Handlers, Int'l Bhd. of Teamsters, Loc. Union

        No. 211 v. PG Publ'g Co., No. 2:19-CV-1472-NR, 2019 U.S. Dist. LEXIS 232000,

        2019 WL 9101872, at *3 (W.D. Pa. Dec. 27, 2019).

              Appellate courts evaluate a district court's decision to grant or deny

        preliminary injunctions under an abuse of discretion standard. Aggarao v. MOL Ship

        Mgmt. Co., Ltd.., 675 F.3d 355, 366 (4th Cir. 2012). Pursuant to this standard,

        appellate courts review the district court's factual findings for clear error and review

        its legal conclusions de novo. Dewhurst v. Century Aluminum Co., 649 F.3d 287,

        290 (4th Cir. 2011). As Plaintiffs’ new factual allegations and exhibits were not

        submitted to the district court, neither the County nor the district court were afforded

        opportunity to evaluate and respond to them. Thus, there are no factual findings or




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        legal conclusions made by the district court concerning Plaintiffs’ supplemental

        evidence for this court to review.2

              The undue prejudice to the County here is obvious. “[A]llowing a party to

        reargue its position by providing supplemental evidence would allow a party to

        essentially re-litigate that which has already been ruled upon and thus would create

        the prospect of endless litigation.” Bhatnagar v. Surrendra Overseas Ltd., 52 F.3d

        1220, 1231 (3d Cir. 1995). In addition, “[j]urisdiction generally passes to the

        appellate court after an appeal has been taken, and arguments that were not advanced

        or properly preserved in the district court are typically considered to have been

        waived on appeal.” Rosenzweig v. Azurix Corp., 332 F.3d 854, 863-64 (5th Cir.

        2003). Lastly, “requiring parties to present the entire available factual record when

        moving for or opposing a preliminary injunction promotes diligence and preserves

        judicial resources that would otherwise be expended combing through multiple

        rounds of briefing.” Dmarcian, Inc, U.S. Dist. LEXIS 150517, *8.




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          “Absent exceptional circumstances, of course, [appellate courts] do not consider
        issues raised for the first time on appeal." Volvo Const. Equip. N. Am., Inc. v. CLM
        Equip. Co., 386 F.3d 581, 603 (4th Cir. 2004). Rather, "[appellate courts] consider
        such issues on appeal only when the failure to do so would result in a miscarriage
        of justice." Id. (citing Muth v. United States, 1 F.3d 246, 250 (4th Cir. 1993)). The
        Emergency Motion does not argue that exceptional circumstances justifying
        departure from the general rule are present here. See Robinson v. Equifax Info.
        Servs., LLC, 560 F.3d 235, 242, (4th Cir. 2009). Furthermore, there are no
        exceptional circumstances warranting such departure here.
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              The Declaration of Daniel Joseph Carlin-Weber is the most egregious

        example of Plaintiffs’ attempt to offer supplemental evidence. (Doc 10-7). Carlin-

        Weber has a background in “various computer technologies” and executed his

        declaration on July 17, 2023 (11 days after the district court’s Order denying the

        Denied Motion) (Doc. 10-7 at 1). Notably, Carlin-Weber’s Declaration is 32 pages

        long (longer than the Emergency Motion) and so long that it required its own Table

        of Contents to navigate. Id. at 3. The Methodology Section of Carin-Weber’s

        Declaration alone is five pages long. Carlin-Webber’s Declaration alone contains

        tens (if not over 100) supplemental factual allegations.

              Carlin-Weber’s self-serving declaration details “queries” (an undefined term)

        he performed for terms such as “childcare” or “hospitals” and creating maps to

        enable him to come to various expert and legal conclusions, such as, “of

        Montgomery County’s 506.91 square miles, 106.45 are excluded from carrying a

        loaded firearm by Bill 21-22E.” Id. at 11. Carlin-Weber’s statement is a

        “declaration” in name only: it is actually an expert report and contains language

        routinely used by testifying experts in their FRCP Rule 26 reports, such as

        “preparation of this declaration was assisted by persons under my immediate control

        and review…” Id. at 2. It is not surprising that Carlin-Weber required assistance

        from others to research and draft his 32-page report. Critically, Carlin-Weber has

        not been accepted as an expert witness in this court and his methodology and


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        scientific and legal conclusions have not been vetted or subject to cross examination

        which they would have been had Plaintiffs timely disclosed his opinions in the

        district court. His report also relies heavily upon technologies and online mapping

        tools which have also not been established to be reliable or accurate. Yet the

        Plaintiffs would now have this court accept his conclusory and unvetted scientific

        and legal opinions, many of which violate Federal Rule of Appellate Procedure Rule

        27(a)(2)(B)(ii)’s prohibition of affidavits containing “legal argument.” Query why

        Plaintiffs would submit such extensive supplemental evidence if they truly believed,

        as they say, that the factual allegations before the district court were sufficient to

        prevail on the merits of its Denied Motion. (Doc 10-1 at 9).

              However, despite its lengthiness, all of the information contained in the

        Carlin-Weber’s Declaration was available to Plaintiffs at the time Bill 21-22E was

        enacted on November 28, 2022, and at the time they filed their Denied Motion on

        December 6, 2022. At no time did Plaintiffs seek to amend their Denied Motion to

        include the lengthy supplemental arguments contained in the Carlin-Weber

        Declaration.

              While the County has not had reasonable and necessary time to fully evaluate

        Carlin-Weber’s Declaration, which was filed five business days ago, a cursory

        review of it reveals numerous, readily apparent errors in both its methodology and

        conclusions. For example, Carlin-Weber’s maps do not reflect the existence of the


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        private residence (Section 57-11(b)(3)) or business exceptions (Section 57-11(b)(4))

        where a firearm may be kept under the County Firearms Law. Using Carlin-Weber’s

        map as support, the Emergency Motion incorrectly concludes that “it is literally

        impossible to drive in or through the County…with a firearm without quickly

        entering one or more of these 100-yard exclusionary zones [set forth in Section 57-

        11].” (Doc. 10-1 at 11). This is also inaccurate as a person can transport the weapon

        in a locked case, separate from its ammunition (Section 57-11(b)(4)).

              The Second Supplemental Declaration of Allan D. Barrall should also be

        struck as it is an attempt to provide new factual allegations to rebut the District

        Court’s opinion in an attempt to “back-fill” the record. Just as with the Declaration

        of Carlin-Webber, the Second Supplemental Declaration of Barrall provides no new

        evidence that was not available at the time the Denied Motion was filed, including

        Mr. Barrall’s use of Google Maps to render legal conclusions about the County

        Firearms Law.

              Wherefore, for the reasons set forth herein, Plaintiffs’ improper attempts to

        include new and supplemental factual allegations and exhibits in the Emergency

        Motion should be struck.




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                                              Respectfully submitted,


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                              CERTIFICATE OF COMPLIANCE

              Pursuant to Rule 27(a), Rule 27(d) and Rule 32(g)(1) of the Federal Rules of

        Appellate Procedure, the undersigned counsel here certifies that the foregoing

        Motion to Strike contains 1,341 words, not counting those items which may be
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        excluded under Rule 32(f), and uses a 14 point, Times New Roman proportional

        font. I hereby certify that counsel for Plaintiffs has been informed of the intended

        filing of this motion and did not consent to the granting of the motion.

                                                    /s/
                                               Matthew H. Johnson




                                    CERTIFICATE OF SERVICE

              I HEREBY CERTIFY that on July 24, 2023, a copy of the foregoing was

        filed to be transmitted via this Court’s CM/ECF Electronic Document Filing

        System to:

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